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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

 

 

WESTERN DIVISION
UNITED STATES OF AMERICA,
CASE NO. 1:20-CR-42
Plaintiff,
JUDGE DLOTT
VS.
ORDER CHANGING TIME OF
TAMAYA DENNARD, SENTENCING HEARING
Defendant.

 

 

This matter is before the Court on Government’s Unopposed Motion to Change Time of
[0-00
Sentencing Hearing, from+0@-a.m. on November 24, 2020 to 1:30 p.m. on November 24, 2020,

Upon consideration of the Government’s unopposed motion, the Court grants the motion and

hereby schedules the defendant’s sentencing hearing for November 24, 2020 at 1:30 p.m.

Now [K 2020 Auton q. Shh

DATE HONORABLE SUSAN J. DLOTT
UNITED STATES ee COURT JUDGE
